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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

HIGHLAND CAPITAL MANAGEMENT,                 §
                                             §
L.P.,
                                             §
                                             §     Civil Action No. 3:21-CV-0881-X
        Plaintiff,
                                             §
                                             §     Consolidated with:
v.
                                             §                    3:21-CV-0880-X
                                             §                    3:21-CV-1010-X
NEXPOINT ASSET MANAGEMENT,
                                             §                    3:21-CV-1378-X
L.P., (F/K/A HIGHLAND CAPITAL
                                             §                    3:21-CV-1379-X
MANAGEMENT FUND ADVISORS,
                                             §                    3:21-CV-3160-X
L.P.), et al.,
                                             §                    3:21-CV-3162-X
                                             §                    3:21-CV-3179-X
       Defendants.
                                             §                    3:21-CV-3207-X
                                             §                    3:22-CV-0789-X

          ORDER ADOPTING REPORT AND RECOMMENDATION
                     AND FINAL JUDGMENT

      Before the Court is the Bankruptcy Court’s Report and Recommendation on

Plaintiff Highland Capital Management, L.P.’s (“Highland”) motion for partial

summary judgment. [Doc. 50]. Having carefully considered (1) Highland’s motion

and all arguments and evidence admitted into the record in support of the motion,

(2) all responses and objections to the motion and all arguments and evidence

admitted into the record in support of such responses and objections, and the

arguments presented by counsel during the hearing held on April 20, 2022, on the

motion, and for the reasons set forth in the Report and Recommendation (the “R&R”)

filed by the Bankruptcy Court on July 19, 2022, and the Supplement to the R&R filed

December 5, 2022, the Court ACCEPTS the report and recommendation. The Court




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OVERRULES the objections to the report and recommendation and OVERRULES

the objection to the supplement to the report and recommendation. [Docs. 63, 87].

        In accordance with the report and recommendation, the Court GRANTS

partial summary judgment for Highland and ENTERS FINAL JUDGMENT as

follows.

        IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

following from James Dondero:

        1. Dondero will owe Highland $3,873,613.93 in accrued but unpaid principal

and interest due under Dondero’s First Note1 (issued on February 2, 2018) as of

August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue on the First Dondero

Note at the rate of $278.50 per day and will increase to $285.91 per day on February

2, 2023.

        2. Dondero will owe Highland $2,778,356.23 in accrued but unpaid principal

and interest due under Dondero’s Second Note (issued on August 1, 2018) as of

August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue on Dondero’s Second

Note at the rate of $224.43 per day and will increase to $231.05 per day on August 1,

2023.

        3. Dondero will owe Highland $2,778,339.88 in accrued but unpaid principal

and interest due under Dondero’s Third Note (issued on August 13, 2018) as of August



        1   Capitalized terms not defined herein shall have the meanings ascribed to them in the R&R.



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8, 2022, after application of all payments to outstanding principal and interest. As of

August 9, 2022, interest will continue to accrue on Dondero’s Third Note at the rate

of $218.20 per day and will increase to $224.64 per day on August 13, 2022.

      4. In addition to the forgoing, and pursuant to the terms of each applicable

Note, Dondero shall pay to Highland the amount of $443,074.35, which is his pro rata

allocation (based on the ratio of the outstanding principal and interest owed by

Dondero to Highland as of August 8, 2022, to the total principal and interest owed by

all Note Maker Defendants to Highland as of August 8, 2022) of the total allocable

and actual expenses of collection, including attorneys’ fees and costs, incurred by

Highland.

      IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

following from NexPoint Asset Management, L.P. (f/k/a Highland Capital

Management Fund Advisors, L.P.) (“NexPoint Asset Management”):

      1. NexPoint Asset Management will owe Highland $2,552,628.61 in accrued

but unpaid principal and interest due under NexPoint’s First Note (issued on May 2,

2019), as of August 8, 2022, after application of all payments to outstanding principal

and interest. As of August 9, 2022, interest will continue to accrue on NexPoint’s

First Note at the rate of $166.08 per day and will increase to $170.05 per day on May

2, 2023.

      2. NexPoint Asset Management will owe Highland $5,317,989.86 in accrued

but unpaid principal and interest due under NexPoint’s Second Note (issued on May

3, 2019), as of August 8, 2022, after application of all payments to outstanding




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principal and interest. As of August 9, 2022, interest will continue to accrue on

NexPoint’s Second Note at the rate of $346.02 per day and will increase to $354.29

per day on May 3, 2023.

      3. In addition to the forgoing, and pursuant to the terms of each applicable

Note, NexPoint Asset Management shall pay to Highland the amount of $369,793.69,

which is its pro rata allocation (based on the ratio of the outstanding principal and

interest owed by NexPoint Asset Management to Highland as of August 8, 2022, to

the total principal and interest owed by all Note Maker Defendants to Highland as of

August 8, 2022) of the total allocable and actual expenses of collection, including

attorneys’ fees and costs, incurred by Highland.

      IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

following from NexPoint Advisors, L.P. (“NexPoint Advisors”):

      1. NexPoint Advisors will owe Highland $23,389,882.79 in accrued but unpaid

principal and interest due under the NexPoint Term Note (issued on May 31, 2017),

as of August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue on the NexPoint Term

Note at the rate of $3,801.79 per day and will increase to $4,029.90 per day on May

31, 2023.

      2. In addition to the forgoing, and pursuant to the terms of each the Note,

NexPoint Advisors shall pay to Highland the amount of $1,098,951.89, which is its

pro rata allocation (based on the ratio of the outstanding principal and interest owed

by NexPoint Advisors to Highland as of August 8, 2022, to the total principal and




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interest owed by all Note Maker Defendants to Highland as of August 8, 2022) of the

total allocable and actual expenses of collection, including attorneys’ fees and costs,

incurred by Highland.

      IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

following from Highland Capital Management Services, Inc. (“HCMS”):

      1. HCMS will owe Highland $166,196.60 in accrued but unpaid principal and

interest due under HCMS’s First Demand Note1 (issued on March 28, 2018), as of

August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue on HCMS’s First

Demand Note at the rate of $12.98 per day and will increase to $13.35 per day on

March 26, 2023.

      2. HCMS will owe Highland $222,917.23 in accrued but unpaid principal and

interest due under HCMS’s Second Demand Note (issued on June 25, 2018), as of

August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue on HCMS’s Second

Demand Note at the rate of $18.56 per day and will increase to $19.13 per day on

June 25, 2023.

      3. HCMS will owe Highland $425,435.63 in accrued but unpaid principal and

interest due under HCMS’s Third Demand Note (issued on May 29, 2019), as of

August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue under HCMS’s Third




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Demand Note at the rate of $27.73 per day and will increase to $28.39 per day on

May 29, 2023.

      4. HCMS will owe Highland $159,454.92 in accrued but unpaid principal and

interest due under HCMS’s Fourth Demand Note (issued on June 26, 2019), as of

August 8, 2022, after application of all payments to outstanding principal and

interest. As of August 9, 2022, interest will continue to accrue on HCMS’s Fourth

Demand Note at the rate of $10.32 per day and will increase to $10.57 per day on

June 26, 2023.

      5. HCMS will owe Highland $6,071,718.32 in accrued but unpaid principal and

interest due under the HCMS Term Note (issued on May 31, 2017), as of August 8,

2022, after application of all payments to outstanding principal and interest. As of

August 9, 2022, interest will continue to accrue on the HCMS Term Note at the rate

of $455.09 per day and will increase to $467.61 per day on May 31, 2023.

      6. In addition to the forgoing, and pursuant to the terms of each applicable

Note, HCMS shall pay to Highland the amount of $331,036.73, which is its pro rata

allocation (based on the ratio of the outstanding principal and interest owed by HCMS

to Highland as of August 8, 2022, to the total principal and interest owed by all Note

Maker Defendants to Highland as of August 8, 2022) of the total allocable and actual

expenses of collection, including attorneys’ fees and costs, incurred by Highland.

      IT IS ORDERED, ADJUDGED, AND DECREED that Highland recover the

following from NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC)

(“NexPoint Real Estate”):




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      1. NexPoint Real Estate will owe Highland $195,476.70 in accrued but unpaid

principal and interest due under HCRE’s First Demand Note (issued on November

27, 2013), as of August 8, 2022, after application of all payments to outstanding

principal and interest. As of August 9, 2022, interest will continue to accrue on

HCRE’s First Demand Note at the rate of $40.58 per day and will increase to $43.83

per day on November 27, 2022.

      2. NexPoint Real Estate will owe Highland $3,551,285.37 in accrued but

unpaid principal and interest due under HCRE’s Second Demand Note (issued on

October 12, 2017), as of August 8, 2022, after application of all payments to

outstanding principal and interest. As of August 9, 2022, interest will continue to

accrue on HCRE’s Second Demand Note at the rate of $730.34 per day and will

increase to $788.77 per day on October 12, 2022.

      3. NexPoint Real Estate will owe Highland $986,472.32 in accrued but unpaid

principal and interest due under HCRE’s Third Demand Note (issued on October 15,

2018), as of August 8, 2022, after application of all payments to outstanding principal

and interest. As of August 9, 2022, interest will continue to accrue on HCRE’s Third

Demand Note at the rate of $203.00 per day and will increase to $219.24 per day on

October 15, 2022.

      4. NexPoint Real Estate will owe Highland $866,600.77 in accrued but unpaid

principal and interest due under HCRE’s Fourth Demand Note (issued on September

25, 2019), as of August 8, 2022, after application of all payments to outstanding

principal and interest. As of August 9, 2022, interest will continue to accrue under




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HCRE’s Fourth Demand Note at the rate of $177.60 per day and will increase to

$191.81 per day on September 25, 2022.

      5. NexPoint Real Estate will owe Highland $6,196,688.51 in accrued but

unpaid principal and interest due under the HCRE Term Note (issued on May 31,

2017), as of August 8, 2022, after application of all payments to outstanding principal

and interest. As of August 9, 2022, interest will continue to accrue on the HCRE

Term Note at the rate of $1,337.94 per day and will increase to $1,444.98 per day on

May 31, 2023.

      6. In addition to the forgoing, and pursuant to the terms of each applicable

Note, NexPoint Real Estate shall pay to Highland the amount of $554,248.69, which

is its pro rata allocation (based on the ratio of the outstanding principal and interest

owed by NexPoint Real Estate to Highland as of August 8, 2022, to the total principal

and interest owed by all Note Maker Defendants to Highland as of August 8, 2022) of

the total allocable and actual expenses of collection, including attorneys’ fees and

costs, incurred by Highland.

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      The amounts set forth to be paid in this Final Judgment shall bear interest,

pursuant to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a

rate of 5.35%. Interest shall be computed daily to the date of payment, except as

provided in 28 U.S.C. § 2516(b) and 31 U.S.C. § 1304(b), and shall be compounded

annually.




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    IT IS SO ORDERED, this 6th day of July, 2023.



                                        ____________________________________
                                        BRANTLEY STARR
                                        UNITED STATES DISTRICT JUDGE




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